                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:15-cv-00336-RJC
                              (3:10-cr-00208-RJC-DSC-4)

MICHAEL LAMONT MOORE,               )
                                    )
            Petitioner,             )
                                    )
                 v.                 )                             ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

       THIS MATTER is before the Court on consideration of Petitioner’s pro se Motion to

Vacate, Set Aside or Correct Sentence which is filed pursuant to 28 U.S.C. § 2255. For the

reasons that follow, Petitioner’s § 2255 Motion to Vacate will be dismissed.

I.     BACKGROUND

       On September 22, 2010, Petitioner and three co-defendants were indicted by the grand

jury in this District on one count of conspiracy to rob Thomasboro Grocery Store, in violation of

18 U.S.C. § 1951 (Count 1); one count of obstructing commerce by robbery by means of actual

and threatened force, and aiding and abetting the same, in violation of 18 U.S.C. §§ 1951 and 2

(Count 2); and one count of carrying a firearm during, in relation to, and in furtherance of a

crime of violence, and aiding and abetting the same, all in violation of 18 U.S.C. §§ 924(c)(1)

and 2 (Count 3). (Criminal Case No. 3:10-cr-00208, Doc. No. 3: Bill of Indictment). Petitioner

elected to plead not guilty to the charges.

       During his trial, the Government presented evidence that Petitioner took a central role in

planning the robbery of the grocery store by providing stocking masks, latex gloves and a gun


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which he later gave to a co-defendant, Davenon Farmer, before they entered the grocery store.

While inside, Farmer held the gun to the head of a 16-year-old cashier and after stealing money

from the store register, Petitioner and Farmer fled the scene with co-defendants Joseph Clinton

and Timothy Herron in a van driven by Herron. Officers from the Charlotte-Mecklenburg Police

Department (“CMPD”) quickly responded to the report of the robbery and while pursuing

Petitioner and his co-defendants, Petitioner fired a shot of at one of the CMPD officers.

Petitioner managed to elude capture on the night of the robbery but was apprehended a few days

later after Farmer was arrested and questioned by police. Both Farmer and Herron testified at

Petitioner’s trial and he was found guilty following a three day trial.

         In Petitioner’s presentence report (“PSR”), the probation officer grouped Counts 1 and 2

pursuant to § 3D1.2(a) of the U.S. Sentencing Guidelines Manual (“USSG”) for a base offense

level of 20; assessed a two-level enhancement because the clerk was restrained during the

robbery; and applied a one-level enhancement because the loss amount from the robbery was

more than $10,000 but less $50,000. Based on a total offense level of 23 and criminal history

category of IV, Petitioner’s Guidelines range was 70 to 87 months’ imprisonment plus a

mandatory consecutive term of 10-years on the § 924(c) conviction because Petitioner

discharged a firearm during his escape.1

         During Petitioner’s sentencing hearing, the Court overruled Petitioner’s general

objections to the strength of the evidence presented at trial and noted that the evidence provided



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  Section 924(c)(1)(A) provides that in addition to the punishment for the underlying crime of violence or drug
trafficking crime, the defendant shall be subject to a consecutive term of five years in prison upon conviction for the
use of the firearm, which increases to a consecutive term of seven years if the defendant brandished the firearm
during the underlying offense. A consecutive term of ten years is imposed if the firearm was discharged during the
commission of the underlying offense.


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strong support for a finding that Petitioner discharged the firearm during the course of his escape.

The Court also rejected Petitioner’s request for a reduced sentence based on Petitioner’s

contention that he lacked sufficient mental capacity, and therefore was less culpable, because of

a childhood head injury. The Court explained that the evidence showed that Petitioner was

instrumental in planning the robbery by providing stocking masks, latex gloves and the gun and

that any cognitive impairment therefore did not reduce his criminal responsibility. After

considering the seriousness of the offenses and Petitioner’s extensive criminal history, the Court

imposed concurrent terms of 84-months’ imprisonment on Counts 1 and 2, and a mandatory

consecutive term of ten years in prison for conviction on Count 3 for a total of 204 months. (Id.,

Doc. No. 137: Judgment).

           On appeal, Petitioner’s counsel filed an Anders brief conceding there were no meritorious

issues for appeal but nevertheless questioning whether Petitioner should have been granted a

variance based on his mental capacity, and whether the Government presented sufficient

evidence to support the § 924(c) conviction for using and carrying a firearm in furtherance of the

crime of violence (armed robbery).2 The Court rejected both of these contentions and in

particular, observed that there was no error in denying Petitioner’s Rule 29 motion for judgment

of acquittal on the § 924(c) conviction because the evidence demonstrated that Petitioner carried

a gun and that he fired at a CMPD officer during his flight from the robbery. Petitioner’s

judgment was affirmed in all respects in a per curiam opinion. United States v. Moore, 530 F.

App’x 251 (4th Cir.) (unpublished), cert. denied, 134 S. Ct. 497 (2013).




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    Anders v. California, 386 U.S. 738 (1967).

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II.      STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         The Antiterrorism and Effective Death Penalty Act (“AEDPA”) provides, in pertinent

part, as follows:

         (f) A 1-year period of limitation shall apply to a motion under this section.
         The limitation period shall run from the latest of—

                (1) the date on which the judgment of conviction becomes final;

                (2) the date on which the impediment to making a motion created
                by governmental action in violation of the Constitution or laws of
                the United States is removed, if the movant was prevented from
                making a motion by such governmental action;

                (3) the date on which the right asserted was initially recognized by
                the Supreme Court, if that right has been newly recognized by the
                Supreme Court and made retroactively applicable to cases on
                collateral review; or

                (4) the date on which the facts supporting the claim or claims
                presented could have been discovered through the exercise of due
                diligence.

28 U.S.C. § 2255(f).

         On October 21, 2013, the Supreme Court denied Petitioner’s petition for a writ of

certiorari therefore he must have filed his § 2255 motion to vacate on or before October 21, 2014


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for it to be considered timely under § 2255(f)(1). See Clay v. United States, 537 U.S. 522, 527

(2003). Petitioner’s § 2255 motion was filed, at the earliest, on July 22, 2015, which is the date

that he avers he mailed the motion from prison. (3:15-cv-00336, Doc. No. 1: Petitioner’s Motion

at 13). See Houston v. Lack, 487 U.S. 266, 276 (1988). Petitioner’s § 2255 Motion is filed

roughly eight months out of time and is due to be dismissed under § 2255(f)(1) unless he can

demonstrate that another provision of § 2255(f) applies to render the motion timely or he can

establish a case for equitable tolling.

        Petitioner challenges his designation as a career offender and contends that this claim is

timely presented under § 2255(f)(3) because it was filed within one year from the date the

Supreme Court filed its recent opinion in Johnson v. United States, 135 S. Ct. 2551 (2015), in

which the Court held that the residual clause of the Armed Career Criminal Act (“ACCA”) was

unconstitutionally vague. Id. at 2555. However, Petitioner was not sentenced under the provisions

of the ACCA, as codified in 18 U.S.C. § 924(e), nor was he designation or sentenced as a career

offender. This argument is therefore without merit.

        Petitioner next argues that in light of Johnson certain convictions that were used to

calculate his criminal history are no longer valid. (Id., Doc. No. 1-2: Petitioner’s Mem. at 1-2).

Petitioner’s reliance on the Johnson opinion is again misplaced. Petitioner first incorrectly

maintains that he was improperly assessed three criminal history points for his 1996 robbery with

a dangerous weapon conviction for which he was sentenced to an active term of 50-69 months in

prison. See USSG 4A1.1(a) (applying three points for a sentence in excess of one year). See

(3:10-cr-00208, Doc. No. 128: PSR ¶ 42). Petitioner also challenges the application of two

criminal history points for a prior state conviction for possession with intent to sell or deliver



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marijuana. This calculation is correct under § 4A1.1(b) because he received an active term of 90

days in custody. (Id. ¶ 43). Last, Petitioner challenges the addition of one point for his conviction

for possession of drug paraphernalia, but this point was properly counted because it was not

assessed under § 4A1.1(a) or (b).

        Next, Petitioner renews claims that were raised and rejected in his direct appeal: (1) that

his § 924(c) conviction was not supported by the evidence; and (2) that the Court should have

granted him a variance based on his childhood head trauma; and if a proper psychological

evaluation had been conducted, the Court would have found that he was less culpable for his

criminal conduct. (Petitioner’s Mem at 3).3 Because these issues have already been decided

against him, he is precluded from renewing them in this collateral proceeding. See Boeckenhaupt

v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976); United States v. Bell, 5 F.3d 64, 66 (4th

Cir. 1993) (The law of the case doctrine “forecloses relitigation of issues expressly or impliedly

decided by the appellate court.”).

        Finally, Petitioner cannot benefit from an equitable tolling of the one-year statute of

limitations. In order to establish a case for equitable tolling, a petitioner must demonstrate that he

has been (1) diligently pursuing his rights and (2) that there was an “extraordinary circumstance”

which prevented a timely filing. See Holland v. Florida, 560 U.S. 631, 655 (2010) (quoting Pace

v. DiGuglielmo, 544 U.S. 408, 418 (2005)). Equitable tolling in this case would be futile because

each of Petitioner’s arguments are without merit.




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  During Petitioner’s sentencing hearing, the Court specifically addressed Petitioner’s cognitive impairment
argument and found that further psychological evaluation could be addressed during his rehabilitation while
incarcerated, but that his motion for a reduced sentence on that basis should be denied because the evidence
demonstrated that Petitioner was deeply and knowingly engaged in the planning of the robbery. (3:10-cr-00208,
Doc. No. 146: Tr. of Sentencing at 17-18).

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IV.     CONCLUSION

        Based on the foregoing, the Court finds that Petitioner’s § 2255 Motion is untimely and

he has failed to establish a case for equitable tolling and the motion will be dismissed.

        IT IS, THEREFORE, ORDERED that Petitioner’s § 2255 Motion to Vacate is

DISMISSED with prejudice. (Doc. No. 1).

        IT IS FURTHER ORDERED that Petitioner’s Motion to Waive Equitable Tolling is

DISMISSED as moot. (Doc. No. 2).

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when

relief is denied on procedural grounds, a petitioner must establish both that the correctness of the

dispositive procedural ruling is debatable, and that the petition states a debatably valid claim of

the denial of a constitutional right).

        The Clerk is respectfully directed to close this civil case.

        IT IS SO ORDERED.

 Signed: August 6, 2015




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